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  1                     TRANSCRIBED FROM DIGITAL RECORDING
  2                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
  3                              EASTERN DIVISION
  4 MADELEINE YATES, on behalf of              )
    herself and other persons                  )
  5 similarly situated,                        )
                                               )   Case No. 17 CV 09219
  6                         Plaintiffs,        )
      -vs-                                     )   Chicago, Illinois
  7                                            )   January 16, 2020
    CHECKERS DRIVE-IN RESTAURANTS,             )   9:46 a.m.
  8 INC., et al.,                              )
                                               )
  9                         Defendants.        )
 10
                          TRANSCRIPT OF PROCEEDINGS
 11        BEFORE THE HONORABLE SUNIL R. HARJANI, MAGISTRATE JUDGE
 12    APPEARANCES:
 13    For the Plaintiffs:         MR. ROBERTO LUIS COSTALES
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 14                                107 West Van Buren
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 17    For the Defendant
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 21
                **PLEASE NOTIFY OF INCORRECT SPEAKER IDENTIFICATION**
 22               NOTE: FAILURE TO STAND NEAR THE MICROPHONE MAKES
                  PORTIONS UNINTELLIGIBLE AND INAUDIBLE
 23
 24
 25
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  1    APPEARANCES: (Continued)
  2    For Defendant Vibes
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  1          (Proceedings heard in open court:)
  2               THE CLERK: Case 17 Civil 9219, Yates versus Checkers
  3    Drive-in.
  4               MR. COSTALES: Good morning, Your Honor. Roberto
  5    Costales for the plaintiff and the putative class.
  6               Hi.
  7               THE COURT: Good morning.
  8               MR. ANALO: Good morning. Karl Analo for Vibes
  9    Media.
 10               THE COURT: Okay. Sorry, for who?
 11               MR. ANALO: Vibes Media.
 12               THE COURT: Vibes Media, okay.
 13               On the phone?
 14               MS. LYLE: You have Abigail Lisle for Checkers.
 15               THE COURT: Okay. Very good.
 16               MS. RICHARDSON: And you have Amy Richardson also for
 17    Vibes Media.
 18               UNIDENTIFIED SPEAKER: (Unintelligible.)
 19               THE COURT: Okay. Very good. Is this everyone?
 20               I have received the plaintiffs' unopposed motion for
 21    preliminary approval of class action settlement. I have
 22    reviewed the briefing. I've also reviewed all of the
 23    exhibits.
 24               Is there anything to add before I make a ruling on
 25    this matter?
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  1               MR. COSTALES: There is, Your Honor. One small
  2    typographical error in Docket No. 125-5, the proposed
  3    preliminary approval order. We had proposed 44 days prior to
  4    the final approval hearing for plaintiffs to submit motion for
  5    attorneys' fees and incentive award.
  6               That's actually a typographical error. In the
  7    settlement agreement, the parties had agreed that it would be
  8    14 days prior to the final approval order.
  9               THE COURT: Okay.
 10               MR. COSTALES: So that would be the only addition
 11    that we would have.
 12               THE COURT: Okay. It's just for the attorney fees
 13    line.
 14               MR. COSTALES: And the incentive.
 15               THE COURT: And the incentive.
 16               MR. COSTALES: Yeah. Instead of 44 days, it should
 17    be 14.
 18               THE COURT: Okay.
 19               MR. COSTALES: I think the defendants would agree
 20    with that.
 21               THE COURT: Okay.
 22               Okay. The other one thing I want to add to this
 23    before I give you my reasoning is I'd like a status hearing
 24    before the final approval hearing. I'd just like to know what
 25    you've seen in terms of any objections, what we expect at the
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  1    final approval hearing just to get a heads up.
  2               MR. COSTALES: Right.
  3               THE COURT: So if you could add in, this is going to
  4    be Page 10 of the proposed order, a status hearing let's say
  5    seven days prior to the final fairness hearing.
  6               And then once you get the final approval hearing, you
  7    can back up these dates accordingly and put them in the order,
  8    but I'll note in the minute entry seven days prior to the
  9    final fairness hearing, we will have a status.
 10               MR. COSTALES: Okay.
 11               THE COURT: Okay? And so we'll work on those dates
 12    in a moment.
 13               Okay. Anything else to add?
 14               MR. COSTALES: Not from plaintiff, Your Honor.
 15               THE COURT: Okay. Defendants?
 16               UNIDENTIFIED SPEAKER: [Inaudible].
 17               THE COURT: Okay. So the Court has reviewed this
 18    matter with respect to the preliminary approval of the class
 19    action settlement and for the record, the Court will address
 20    its reasoning.
 21               In summary, the Court grants plaintiffs' unopposed
 22    motion for preliminary approval of class action settlement.
 23    The Court has reviewed the briefing along with the exhibits
 24    provided by the parties.
 25               The Court notes that in a preliminary prenotification
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  1    evaluation of a proposed settlement, the Court is required to
  2    determine whether or not the proposed settlement is within the
  3    range of possible approval. This is not a final fairness
  4    hearing. This is an initial evaluation of the fairness of the
  5    proposed settlement based upon the submission of the parties,
  6    and the Court's process at this time is to determine whether
  7    or not the settlement is within approval range using a summary
  8    version, the same inquiry that takes place eventually at the
  9    final fairness hearing.
 10               And those factors include the strength of the
 11    plaintiffs' case compared to the amount of settlement offer,
 12    the assessment of the likely complexity of a trial, the length
 13    and expense of litigation, the amount of opposition to
 14    settlement among the parties, the opinion of competent
 15    counsel, and the stage of proceedings and the amount of
 16    discovery completed at the time of settlement.
 17               In evaluating these factors, the Court has first
 18    taken a look at the proposed settlement and has determined
 19    that the settlement is a fair compromise given the risks
 20    associated with proceeding with this litigation. The Court is
 21    mindful that some of the theories in this case have been
 22    untested and are somewhat novel, along with the fact that the
 23    defenses posed by the defendants are recognizable and
 24    certainly fair and have a possibility of success. And these
 25    realities of litigation are taken into account in the Court's
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  1    analysis at a preliminary approval stage.
  2               The Court also notes that the matter has yet to reach
  3    summary judgment or class certification and that there will be
  4    complexities and expenses associated with those matters, and
  5    that also is taken into account in determining that the
  6    settlement is an appropriate -- within the appropriate range
  7    of settlements in this case, given the risk associated to both
  8    sides and the risks that the plaintiff, if unsuccessful on
  9    many of these issues that I've identified, could receive
 10    nothing eventually if they were to be on the losing side.
 11               The Court is mindful that if this matter even reached
 12    trial, the evidence and witnesses would be significant and
 13    would be from across the country and would also weigh heavily
 14    in terms of expenses.
 15               Furthermore, the Court finds that the proposed
 16    agreement at this preliminary stage is in the best interests
 17    of settlement class members because it provides for a
 18    meaningful immediate benefit versus waiting for some period of
 19    time, a significant period of time, for litigation, appeals to
 20    conclude, along with the significant time it would take to
 21    resolve motions for summary judgment and class certification
 22    along with the resources that would be used to -- to litigate
 23    those matters.
 24               The settlement follows an extensive period of
 25    discovery, sometimes very aggressive discovery by both counsel
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  1    who are working aggressively for their clients, and the Court
  2    is mindful that further litigation would be just as zealous
  3    and involve a fair amount of processes.
  4               And so the fact that the amount of time it would take
  5    combined with the fact that the settlement is not happening at
  6    the very beginning of the case but after significant discovery
  7    and both parties being fully informed of the issues that are
  8    out there, that the settlement is happening at the right time.
  9               And, finally, the Court finds that because the
 10    settlement occurred during the course of a settlement
 11    conference with this Court, the Court is aware and fully
 12    recognizes that this was the result of a full arm's length
 13    negotiation between the parties mediated by this Court and was
 14    done so not in any kind of collusion setting but in an optimal
 15    place where full negotiation could only happen through fair
 16    arm's length settlement conference because it was monitored by
 17    this Court at all times.
 18               And so for those reasons, the Court finds that the
 19    settlement is within the range of appropriate possibilities,
 20    and I will preliminarily approve the settlement.
 21               The settlement also -- or the plaintiff asks
 22    unopposed for certification for purposes of settlement under
 23    Rule 23, and the Court also grants that matter at this time
 24    for the various reasons.
 25               First with respect to the 23(a) factors, there's no
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  1    question that this case meets the numerosity requirement,
  2    there are approximately 1.9 telephone numbers that were texted
  3    associated with the underlying claims, and that's more than
  4    enough to meet the numerosity.
  5               The commonality and typicality also met because they
  6    all received the same texts. It was standardized conduct, and
  7    the law that applies to each of those putative plaintiffs is
  8    the same. It is typical of each one of them and of the class
  9    representatives because they have the same essential
 10    characteristics and the same course of conduct happened to
 11    each of them.
 12               And finally under 23(a), the class representatives
 13    can fairly and adequately protect the interests of the class.
 14    They have the same issues as the rest of the putative class
 15    members, and they've also been represented by experienced
 16    competent counsel on the plaintiffs' side who the Court has
 17    personally had contact with through the course of this
 18    discovery and through the settlement conference.
 19               And with respect to 23(b)(3) for the same reasons,
 20    the Court also finds that there are common questions that
 21    predominate the settlement class. Again, this is resulting
 22    from the issue of a series of text messages that were
 23    identical to each putative plaintiff and, therefore, involves
 24    both the same course of conduct and the same underlying common
 25    questions of law that apply to each of the class members.
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   1               On top of that, the Court also finds that the class
   2   action for the same reasons in the most efficient way of
   3   adjudicating the putative class members' claims, it will
   4   promote judicial efficiency, it will minimize the amount of
   5   resources, given that the uniform facts and the same
   6   application of law including the same federal statute applies
   7   to all putative class members, and so for those reasons the
   8   Court also finds that class certification is appropriate under
   9   Federal Rule of Civil Procedure 23.
 10                Okay. Anything else you'd like me to add or address?
 11                MR. COSTALES: I think that about covers it, Your
 12    Honor.
 13                THE COURT: Okay. Very good. So I know I'll give
 14    you some dates, and then you're going to provide me an amended
 15    order so that we can issue that along with the changes you've
 16    mentioned.
 17                So let's move backwards first. Do you have a
 18    proposed date for the final approval hearing?
 19                MR. COSTALES: Plaintiffs do not have one in mind,
 20    Your Honor. We just have -- we didn't know if the preliminary
 21    approval would be granted today or not.
 22                I think that we need the 40 days for the notice
 23    period to finish. So 40 days from today. And then 90 days
 24    from that date. So the soonest it could be would be 120 days
 25    from today.
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   1               THE COURT: Okay. About six months.
   2               MR. COSTALES: 130 days from today.
   3               THE COURT: Ballpark six months?
   4               MR. COSTALES: Yeah.
   5               THE COURT: Okay. So that would take us until, let's
   6   say, about July or so?
   7               MR. COSTALES: Yeah.
   8               THE COURT: Okay. Why don't we do it -- I'm going to
   9   give you a little bit more breathing room, so let's do it in
 10    August. Can we do late August?
 11                THE CLERK: August 26th.
 12                MR. COSTALES: Okay.
 13                THE COURT: Is that good for everybody?
 14                MR. ANALO: I believe so, Your Honor.
 15                MR. COSTALES: Yes, sir.
 16                THE COURT: August 26th, let's do that at 9:30.
 17                Actually, you know what? Let's do it at 10:00.
 18                Okay. 10:00 a.m. on August 26th. All right, and so
 19    then let's have a status a week before that at 9:15.
 20                THE CLERK: August 19th at 9:15.
 21                MR. COSTALES: Okay.
 22                THE COURT: Okay. And then all your other dates you
 23    can plug in accordingly to the proposed order, okay?
 24                MR. COSTALES: All right.
 25                THE COURT: Okay. Any other dates?
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   1               MR. COSTALES: I don't think for us to come in, no,
   2   Your Honor.
   3               THE COURT: Okay. Very good.
   4               Give me a second here to make sure.
   5               So the -- file the final proposed order by the date
   6   of the status, too.
   7               MR. COSTALES: Okay.
   8               THE COURT: Do you have a date in here, or do I need
   9   to give you a date?
 10                I think you'll do it with your brief.
 11                MR. COSTALES: Yeah, I think so. We have I think
 12    it's 14 days prior to.
 13                THE COURT: Okay.
 14                MR. COSTALES: Something like that.
 15                THE COURT: All right. So I'll be done with the
 16    brief. I'll have the brief. I'll look at it, and then I'll
 17    have you in for a status a week before. If I have any
 18    questions, I'll raise it at that time, and then we'll have the
 19    final approval hearing after that.
 20                MR. COSTALES: Yeah. So I see it here. It's 14 days
 21    prior to the final approval, we'll have our brief in support
 22    of it in.
 23                THE COURT: Okay. Very good.
 24                Okay. Thank you very much.
 25                MR. COSTALES: Thank you again, Your Honor, for your
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   1   help.
   2               THE COURT: Okay. Thank you. Take care.
   3               MS. LYLE: Thank you, Your Honor.
   4         (Which were all the proceedings heard.)
   5                                    CERTIFICATE
   6         I certify that the foregoing is a correct transcript from
   7   the digital recording of proceedings in the above-entitled
   8   matter to the best of my ability, given the limitations of
   9   using a digital-recording system.
 10
 11    /s/Kathleen M. Fennell                   February 14, 2020
 12
       Kathleen M. Fennell                            Date
 13    Official Court Reporter
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